        IN THE UNITED STATES DISTRICT COURT FOR THE
                WESTERN DISTRICT OF MISSOURI
                      WESTERN DIVISION

UNITED STATES OF AMERICA,        )
                                 )
                Plaintiff,       )
                                 )
          v.                     ) Criminal Action No.
                                 ) 05-00344-02-CR-W-ODS
STEVEN SANDSTROM,                )
                                 )
                Defendant.       )

              REPORT AND RECOMMENDATION TO DENY
        DEFENDANTS’ MOTION TO DISMISS THE INDICTMENT
          AND ORDER DENYING ALTERNATIVE MOTION FOR
                     BILL OF PARTICULARS

     Before the court is defendant’s motion to dismiss the

indictment apparently on the ground that the indictment is

unconstitutionally vague.     I find that counts one through

nine contain sufficient information to apprise defendant of

the nature of the charges and to enable him to plead an

acquittal or conviction in bar of future prosecutions.

Therefore, defendant’s motion to dismiss should be denied.

Defendant alternatively moves for a bill of particulars.

For the reasons outlined below, that alternative motion will

be denied.

I.   BACKGROUND

     On September 29, 2005, an indictment was returned

charging defendant with two counts of interference with

federally protected activities, in violation of 18 U.S.C. §




 Case 4:05-cr-00344-DGK   Document 115   Filed 05/02/06   Page 1 of 15
245(b)(2)(B); one count of using or discharging a firearm

during a crime of violence, in violation of 18 U.S.C. §

924(c)(1)(A)(iii); two counts of using or discharging a

firearm during a crime of violence causing murder, in

violation of 18 U.S.C. §§ 924(c)(1)(A)(iii) and (j)(1); one

count of tampering with a witness, in violation of 18 U.S.C.

§§ 1512(a)(1)(C) and (a)(3)(A); one count of obstruction of

justice, in violation of 18 U.S.C. § 1519; one count of

using fire to commit a felony, in violation of 18 U.S.C. §

844(h)(1); and one count of threatening to retaliate against

a federal witness, in violation of 18 U.S.C. § 1513(b)(2).

Defendant filed the instant motion to dismiss the indictment

on March 14, 2006 (document number 59).

     On April 14, 2006, the government filed a response to

defendant’s motion (document number 99).         The government

argues that the indictment is sufficient in that each count

contains all of the essential elements, the specific date of

the offense, the city where the offense occurred, and

additional details.       The government also points out that it

has provided over 1,500 pages of discovery to date including

police reports, laboratory reports, some witness statements,

and recorded telephone conversations.        The government has

agreed to provide all additional witness statements 30 days

                                  2




 Case 4:05-cr-00344-DGK    Document 115   Filed 05/02/06   Page 2 of 15
before trial, and at that point defendant will have all of

the relevant discovery.

II.   SUFFICIENCY OF THE INDICTMENT

      It is well established that an indictment is sufficient

if it (1) contains the elements of the offense charged and

fairly informs the defendant of the charge against which he

must defend, and (2) enables him to plead an acquittal or

conviction in bar of future prosecutions.         Hamling v. United

States, 418 U.S. 87, 117 (1974); United States v. McMahan,

744 F.2d 647, 650 (8th Cir. 1984).       The sufficiency of the

indictment is to be judged by practical, and not by

technical, considerations.     Hayes v. United States, 296 F.2d

657, 667 (8th Cir. 1961), cert. denied, 369 U.S. 867 (1962).

An indictment ordinarily is held sufficient unless it is so

defective that by no reasonable construction can it be said

to charge the offense for which the defendant was convicted.

United States v. Young, 618 F.2d 1281, 1286 (8th Cir.),

cert. denied, 449 U.S. 844 (1980); United States v. Ivers,

512 F.2d 121, 123 (8th Cir. 1975).

      It is generally sufficient that the indictment sets

forth the offense in the words of the statute itself, so

long as those words fully, directly, and expressly, without

uncertainty or ambiguity, set forth all the elements

                                 3




 Case 4:05-cr-00344-DGK   Document 115   Filed 05/02/06   Page 3 of 15
necessary to constitute the offense intended to be punished.

Hamling v. United States, 418 U.S. at 117; United States v.

McKnight, 799 F.2d 443, 445 (8th Cir. 1986); United States

v. Opsta, 659 F.2d 848, 850 (8th Cir. 1981).          However, the

indictment does not have to follow the exact wording of the

statute.   United States v. Ivers, 512 F.2d at 123.

     Title 18, United States Code, Section 245(b)(2)(B)

(charged in counts one and three), reads as follows:

     (b) Whoever, whether or not acting under color of law,
     by force or threat of force willfully injures,
     intimidates or interferes with, or attempts to injure,
     intimidate or interfere with--
          (2) any person because of his race, color,
          religion or national origin and because he is or
          has been--
               (B) participating in or enjoying any benefit,
               service, privilege, program, facility or
               activity provided or administered by any
               State or subdivision thereof;
     shall be fined under this title, or imprisoned not more
     than one year, or both; . . . and if death results from
     the acts committed in violation of this section, . . .
     shall be fined under this title or imprisoned for any
     term of years or for life, or both, or may be sentenced
     to death. . . .

Count one of the indictment reads as follows:

          On or about March 9, 2005, in Kansas City, Jackson
     County, in the Western District of Missouri,
     defendants, GARY EYE and STEVEN SANDSTROM, wile aiding
     and abetting one another, did willfully, by force and
     threat of force, attempt to injure, intimidate and
     interfere with William McCay, an African-American man,
     by shooting at him with a firearm, because of William
     McCay’s race and color, and because he was and had been
     enjoying a facility provided and administered by a

                                 4




 Case 4:05-cr-00344-DGK   Document 115   Filed 05/02/06   Page 4 of 15
     subdivision of the State of Missouri, namely, the
     public streets provided and administered by the City of
     Kansas City, in and around 9th Street and Spruce
     Avenue. The commission of this offense included the
     use of a dangerous weapon.
          All in violation of Title 18, United States Code,
     Section 245(b)(2)(B) and Section 2.

     Count three charges a violation of the same statute,

but count three charges that defendants “injured,

intimidated and interfered” with McCay rather than

attempting to do so as charged in count one, and count three

alleges that defendants shot McCay, whereas count one

alleges they “shot at” McCay.        In addition, this shooting,

according to the indictment occurred at 9th Street and

Brighton, whereas defendants allegedly “shot at” McCay at

9th Street and Spruce.     Finally, count three alleges that

the use of a dangerous weapon resulted in the death of

William McCay.

     Counts one and three clearly track the language of 18

U.S.C. § 245(b)(2)(B), and that statute fully sets forth all

the elements necessary to constitute the offense intended to

be punished.   In addition, counts one and three provide the

name of the victim and the specific addresses of the

offenses.

     Title 18, United States Code, Section 924(c)(1)(A)(iii)

and (j)(1) (charged in counts two, four, and six) read as

                                 5




 Case 4:05-cr-00344-DGK   Document 115    Filed 05/02/06   Page 5 of 15
follows:

     (c)(1)(A) Except to the extent that a greater minimum
     sentence is otherwise provided by this subsection or by
     any other provision of law, any person who, during and
     in relation to any crime of violence or drug
     trafficking crime (including a crime of violence or
     drug trafficking crime that provides for an enhanced
     punishment if committed by the use of a deadly or
     dangerous weapon or device) for which the person may be
     prosecuted in a court of the United States, uses or
     carries a firearm, or who, in furtherance of any such
     crime, possesses a firearm, shall, in addition to the
     punishment provided for such crime of violence or drug
     trafficking crime--
          (iii) if the firearm is discharged, be sentenced
          to a term of imprisonment of not less than 10
          years.

     (j) A person who, in the course of a violation of
     subsection (c), causes the death of a person through
     the use of a firearm, shall--
          (1) if the killing is a murder (as defined in
          section 1111), be punished by death or by
          imprisonment for any term of years or for life.

Count two of the indictment reads as follows:

          On or about March 9, 2005, in Kansas City, Jackson
     County, in the Western District of Missouri,
     defendants, GARY EYE and STEVEN SANDSTROM, while aiding
     and abetting one another, knowingly used, carried, and
     discharged; and caused to be used, carried, and
     discharged, a firearm, namely a .22 caliber revolver,
     during and in relation to a crime of violence for which
     they may be prosecuted in a court of the United States,
     that is, the offense charged in Count One of the
     Indictment and incorporated herein by reference.
          All in violation of Title 18, United States Code,
     Section 924(c)(1)(A)(iii) and Section 2.

     Counts four and six of the indictment are identical to

count two except count four incorporates count three instead


                                 6




 Case 4:05-cr-00344-DGK   Document 115   Filed 05/02/06   Page 6 of 15
of count one and count six incorporates count five, and they

add the following language:     “In committing this offense,

defendants, GARY EYE and STEVEN SANDSTROM, caused the death

of William McCay through the use and discharge of said

firearm. The death of William McCay involved circumstances

constituting murder as defined in Title 18, United States

Code, Section 1111, in that defendants GARY EYE and STEVEN

SANDSTROM unlawfully killed William McCay willfully,

deliberately, and with premeditation and malice

aforethought.”   Counts four and six are in violation of both

18 U.S.C. § 924(c)(1)(A)(iii) and (j)(1).

     Counts two, four, and six clearly track the language of

18 U.S.C. § 924(c)(1)(A)(iii) (and (j)(1) in the case of

counts four and six), and that statute fully sets forth all

the elements necessary to constitute the offense intended to

be punished.   See Eighth Circuit Model Criminal Jury

Instruction 6.18.924C.     Further, the indictment provides the

type of gun involved, the name of the victim (through

incorporation of counts one, three, and five), and the

address of the offenses.

     Title 18, United States Code, Section 1512(a)(1)(C) and

(a)(3)(A) (charged in count five) read as follows:



                                 7




 Case 4:05-cr-00344-DGK   Document 115   Filed 05/02/06   Page 7 of 15
     (a)(1) Whoever kills or attempts to kill another
     person, with intent to--
          (C) prevent the communication by any person to a
          law enforcement officer or judge of the United
          States of information relating to the commission
          or possible commission of a Federal offense or a
          violation of conditions of probation, parole, or
          release pending judicial proceedings;
     shall be punished as provided in paragraph (3).
     (3) The punishment for an offense under this subsection
     is--
          (A) in the case of murder (as defined in section
          1111), the death penalty or imprisonment for life.
          . . .

Count five of the indictment reads as follows:

          On or about March 9, 2005, in the Western District
     of Missouri, the defendants, GARY EYE and STEVEN
     SANDSTROM, while aiding and abetting one another, did
     knowingly kill William McCay with the intent to prevent
     William McCay from communicating to a law enforcement
     officer of the United States information related to the
     commission or possible commission of a federal offense,
     that is, the interference with his free exercise and
     enjoyment of a right secured to him by the laws and the
     Constitution of the United States, namely, his right to
     the use and enjoyment of a public facility, the public
     streets provided and administered by the City of Kansas
     City, Missouri, free from intimidation based upon race
     and color. The death of William McCay involved
     circumstances constituting murder as defined in Title
     18, United States Code, Section 1111, in that
     defendants GARY EYE and STEVEN SANDSTROM unlawfully
     killed William McCay willfully, deliberately, and with
     premeditation and malice aforethought.
          All in violation of Title 18, United States Code,
     Section 1512(a)(1)(C), (a)(3)(A), and Section 2.

     Count five clearly tracks the language of 18 U.S.C. §

1512(a)(1)(C) and (a)(3)(A), and that statute fully sets

forth all the elements necessary to constitute the offense


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 Case 4:05-cr-00344-DGK   Document 115   Filed 05/02/06   Page 8 of 15
intended to be punished.     See United States v. Stansfield,

101 F.3d 909, 918 (3rd Cir. 1996).

     Title 18, United States Code, Section 1519 (charged in

count seven) reads as follows:

     Whoever knowingly alters, destroys, mutilates,
     conceals, covers up, falsifies, or makes a false entry
     in any record, document, or tangible object with the
     intent to impede, obstruct, or influence the
     investigation or proper administration of any matter
     within the jurisdiction of any department or agency of
     the United States or any case filed under title 11, or
     in relation to or contemplation of any such matter or
     case, shall be fined under this title, imprisoned not
     more than 20 years, or both.

Count seven of the indictment reads as follows:

          On or about March 9, 2005, in Kansas City, Jackson
     County, in the Western District of Missouri,
     defendants, GARY EYE and STEVEN SANDSTROM, while aiding
     and abetting one another, knowingly altered, destroyed,
     and mutilated a tangible object, namely a 2003 Dodge,
     with the intent to impede, obstruct, and influence the
     possible investigation of a matter and matters within
     the jurisdiction of a department or agency of the
     United States.
          All in violation of Title 18, United States Code,
     Section 1519, and Section 2.

     Count seven clearly tracks the language of 18 U.S.C. §

1519, and that statute fully sets forth all the elements

necessary to constitute the offense intended to be punished.

In addition, the indictment identifies the object which was

allegedly destroyed (a 2003 Dodge), through count eight

states that the car was destroyed by fire, and indicates the


                                 9




 Case 4:05-cr-00344-DGK   Document 115   Filed 05/02/06   Page 9 of 15
item was allegedly destroyed to impede a federal

investigation rather than a Title 11 matter.

     Title 18, United States Code, Section 844(h)(1)

(charged in count eight) reads as follows:

     (h)(1) Whoever uses fire or an explosive to commit any
     felony which may be prosecuted in a court of the United
     States, including a felony which provides for an
     enhanced punishment if committed by the use of a deadly
     or dangerous weapon or device shall, in addition to the
     punishment provided for such felony, be sentenced to
     imprisonment for 10 years. In the case of a second or
     subsequent conviction under this subsection, such
     person shall be sentenced to imprisonment for 20 years.
     Notwithstanding any other provision of law, the court
     shall not place on probation or suspend the sentence of
     any person convicted of a violation of this subsection,
     nor shall the term of imprisonment imposed under this
     subsection run concurrently with any other term of
     imprisonment including that imposed for the felony in
     which the explosive was used or carried.

Count eight of the indictment reads as follows:

          On or about March 9, 2005, in Kansas City, Jackson
     County, in the Western District of Missouri,
     defendants, GARY EYE and STEVEN SANDSTROM, while aiding
     and abetting one another, knowingly used fire to commit
     a felony prosecutable in a court of the United States,
     namely the offense charged in Count Seven of this
     Indictment and incorporated herein by reference.
          All in violation of Title 18, United States Code,
     Section 844(h)(1), and Section 2.

     Count eight clearly tracks the language of 18 U.S.C. §

844(h)(1), and that statute fully sets forth all the

elements necessary to constitute the offense intended to be

punished.   In addition, by incorporating count seven, the


                                 10




 Case 4:05-cr-00344-DGK   Document 115   Filed 05/02/06   Page 10 of 15
indictment informs defendant that he is charged with using

fire to commit obstruction of justice by destroying a 2003

Dodge.

     Title 18, United States Code, Section 1513(b)(2)

(charged in count nine) reads as follows:

     (b) Whoever knowingly engages in any conduct and
     thereby causes bodily injury to another person or
     damages the tangible property of another person, or
     threatens to do so, with intent to retaliate against
     any person for--
          (2) any information relating to the commission or
          possible commission of a Federal offense or a
          violation of conditions of probation, supervised
          release, parole, or release pending judicial
          proceedings given by a person to a law enforcement
          officer;
     or attempts to do so, shall be fined under this title
     or imprisoned not more than ten years, or both.

Count nine of the indictment reads as follows:

          On or about July 31, 2005, in Kansas City, Jackson
     County, in the Western District of Missouri, defendant
     STEVEN SANDSTROM did knowingly engage in conduct and
     thereby threatened to cause bodily injury to another
     person with the intent to retaliate against that person
     for information relating to the commission or possible
     commission of a federal offense given by that person to
     a law enforcement officer.
          All in violation of Title 18, United States Code,
     Section 1513(b)(2).

     Count nine clearly tracks the language of 18 U.S.C. §

1513(b)(2), and that statute fully sets forth all the

elements necessary to constitute the offense intended to be

punished.   See Eighth Circuit Model Criminal Jury


                                 11




 Case 4:05-cr-00344-DGK   Document 115   Filed 05/02/06   Page 11 of 15
Instruction 6.18.1513.

     Because all of the counts of the indictment contain the

elements of the offenses charged and enable him to plea an

acquittal or conviction in bar of future prosecutions, the

indictment is sufficient.

III. BILL OF PARTICULARS

     Defendant alternatively moves for a bill of

particulars.

     A bill of particulars has three functions:           (1) to

inform the defendant of the nature of the charge against him

with sufficient precision to enable him to prepare for

trial, (2) to minimize the danger of surprise at trial, and

(3) to enable him to plead his acquittal or conviction in

bar of prosecution for the same offense when the indictment

itself is too vague or indefinite for such purposes.

United States v. Wessels, 12 F.3d 746, 750 (8th Cir. 1993),

cert. denied, 513 U.S. 831 (1994); United States v. Garrett,

849 F.2d 1141 (8th Cir. 1988); United States v. Maull, 806

F.2d 1340, 1345 (8th Cir. 1986), cert. denied, 480 U.S. 907

(1987).   A motion for a bill of particulars may not be used

to require the government to disclose evidentiary detail

which the government intends to present at trial or its

legal theories of the case.      United States v. Matlock, 675

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 Case 4:05-cr-00344-DGK   Document 115   Filed 05/02/06   Page 12 of 15
F.2d 981, 986 (8th Cir. 1982); United States v. Burgin, 621

F.2d 1352, 1359 (5th Cir.), cert. denied, 449 U.S. 1015

(1980); United States v. Barket, 380 F. Supp. 1018, 1020

(W.D. Mo. 1974).

     In his motion, defendant states that he should have

“ultimate facts regarding motive”, “what his co-defendant

might actually have been thinking and what facts might be

used to prove that”, “what actions [defendant] allegedly

took to aid and abet his co-defendant in any allegedly

criminal conduct”, “additional facts, such as who was

threatened, how the threat was communicated to the alleged

victim, and whether defendant had the present means and

opportunity to carry out any alleged threat.”

     The government responds that defendant has to date been

provided with over 1,500 pages of discovery which includes

police reports, laboratory reports, some witness statements,

and recorded telephone conversations.        “Moreover, defendant

has already agreed to the scheduling order in which it was

stipulated that defendant would be provided all additional

witness statements 30 days before trial.         At that point (30

days before trial), defendant will have all relevant

discovery.”



                                 13




 Case 4:05-cr-00344-DGK   Document 115   Filed 05/02/06   Page 13 of 15
      First, I find that the indictment is sufficient, and

therefore, a bill of particulars is not justified. Second, I

find that the defendant is requesting evidentiary detail and

the theory of the government’s prosecution, neither of which

are proper grounds for granting a bill of particulars.

United States v. Matlock, 675 F.2d 981, 986 (8th Cir. 1982);

United States v. Burgin, 621 F.2d 1352, 1359 (5th Cir.),

cert. denied, 449 U.S. 1015 (1980); United States v. Barket,

380 F. Supp. 1018, 1020 (W.D. Mo. 1974).         See also 1 C.

Wright, Federal Practice and Procedure: Criminal 2d § 129,

pp. 441-442 (1982); Notes of Advisory Committee on 1966

Amendment of Rule 7(f), citing United States v. Smith, 16

F.R.D. 372, 374-75 (W.D. Mo. 1954); King v. United States,

402 F.2d 289, 292 (10th Cir. 1968).

IV.   CONCLUSION

      Because counts one through nine contain sufficient

information to apprise defendant of the nature of the

charges and to enable him to plead an acquittal or

conviction in bar of future prosecutions, it is

      RECOMMENDED that the court, after making an independent

review of the record and the applicable law, enter an order

denying defendant’s motion to dismiss counts one through

nine of the indictment.     It is further

                                 14




 Case 4:05-cr-00344-DGK   Document 115   Filed 05/02/06   Page 14 of 15
     ORDERED that defendant’s alternative motion for bill of

particulars is denied.

     Counsel are advised that, pursuant to 28 U.S.C. §

636(b)(1), each has ten days from the date of receipt of a

copy of this report and recommendation to file and serve

specific objections.



                                    /s/ Robert E. Larsen
                                  ROBERT E. LARSEN
                                  United States Magistrate Judge

Kansas City, Missouri
May 1, 2006




                                 15




 Case 4:05-cr-00344-DGK   Document 115   Filed 05/02/06   Page 15 of 15
